Case 2:23-mj-00348 Document 1 Filed on 05/05/23 in TXSD Page 1 of 4




                                                       United States Courts Southern
                                                              District of Texas
                                            C-23-0348M               FILED
                                                                     5/5/23
                                                         Nathan Ochsner, Clerk of Court




        5
Case 2:23-mj-00348 Document 1 Filed on 05/05/23 in TXSD Page 2 of 4
Case 2:23-mj-00348 Document 1 Filed on 05/05/23 in TXSD Page 3 of 4
Case 2:23-mj-00348 Document 1 Filed on 05/05/23 in TXSD Page 4 of 4




                    5
